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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. BARLEAN2024 OK 36Case Number: SCBD-7652Decided: 05/20/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 36, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
KELLY JOHN BARLEAN, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information, Probable Cause Affidavit, and Judgment and Sentence in the following matters in Oklahoma County, Oklahoma: State of Oklahoma v. Kelly John Barlean, case no. CF-2021-3557, and State of Oklahoma v. Kelly Barlean, case no. CM-2022-4468. Pursuant to a plea agreement, the charge of felony Domestic Assault and Battery by Strangulation in case no. CF-2021-3557 was reduced to misdemeanor Domestic Assault and Battery. Following pleas of guilty to misdemeanor domestic assault and battery in the combined cases, the court deferred sentencing for 3 years until January 4, 2026.1

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Kelly John Barlean is immediately suspended from the practice of law. Kelly John Barlean is directed to show cause, if any, no later than June 4, 2024, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until June 18, 2024, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Kelly John Barlean has until July 3, 2024, to show cause in writing why a final order of discipline should not be made. The written return of the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his conduct or by way of mitigating the discipline to be imposed upon him, submit a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until July 18, 2024 to respond by submission of a brief and/or any evidence supporting the recommendation of discipline.

¶4 DONE BY ORDER OF THE SUPREME COURT in conference on May 20, 2024.


/S/CHIEF JUSTICE



Kane, C.J.,Winchester, Edmondson, Combs, Gurich, Darby and Kuehn, JJ., concur;

Rowe, V.C.J. and Kauger, J., dissent.



FOOTNOTES


1 Since entering the pleas in these cases, two protective orders (PO-2024-44 and PO-2024-45) have been entered against Respondent in Oklahoma County following testimony from his son and ex-wife regarding Respondent's conduct involving stalking and harassment. The protective orders are in effect until March 27, 2026.








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